      Case: 23-30033   Document: 40        Page: 1   Date Filed: 05/19/2023




                               No. 23-30033

           IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT
               __________________________________

  CALEB REESE; FIREARMS POLICY COALITION, INC.; SECOND AMENDMENT
  FOUNDATION; LOUISIANA SHOOTING ASSOCIATION; and EMILY NAQUIN,
                                                                Plaintiffs-Appellants,

                                      v.

   BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES; STEVEN
   DETTELBACH, Director of the Bureau of Alcohol, Tobacco, Firearms and
         Explosives; MERRICK GARLAND, U.S. Attorney General,
                                                                Defendants-Appellees.
                 __________________________________

               On Appeal from the United States District Court
          for the Western District of Louisiana (No. 6:20-cv-01438)
                  __________________________________

            BRIEF OF EVERYTOWN FOR GUN SAFETY
              AS AMICUS CURIAE IN SUPPORT OF
           DEFENDANTS-APPELLEES AND AFFIRMANCE
               __________________________________

                                      Janet Carter
                                      Everytown Law
                                      450 Lexington Avenue, P.O. Box 4184
                                      New York, NY 10017

                                      Ivan E. Wohner
                                      Everytown Law
                                      P.O. Box 14780
                                      Washington, DC 20044
                                      (202) 897-1882
May 19, 2023                          iwohner@everytown.org
        Case: 23-30033       Document: 40    Page: 2   Date Filed: 05/19/2023




                CERTIFICATE OF INTERESTED PERSONS

Reese v. ATF, No. 23-30033

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in

the outcome of this case. These representations are made in order that the

judges of this court may evaluate possible disqualification or recusal.

      1. Plaintiffs-appellants:
            a. Caleb Reese
            b. Louisiana Shooting Association
            c. Emily Naquin
            d. Second Amendment Foundation
            e. Firearms Policy Coalition, Inc.

      2. Counsel for Plaintiffs-appellants (including in district court):
           a. David H. Thompson, Cooper & Kirk, PLLC
           b. Peter A. Patterson, Cooper & Kirk, PLLC
           c. William V. Bergstrom, Cooper & Kirk, PLLC
           d. George J. Armbruster, III, Armbruster & Associates, APLC
           e. Joseph Greenlee, FPC Action Foundation
           f. John W. Dillon, Dillon Law Group
           g. Raymond M. DiGuiseppe, DiGuiseppe Law Firm
           h. Adam Kraut, Second Amendment Foundation

      3. Defendants-appellees:
           a. Bureau of Alcohol, Tobacco, Firearms and Explosives
           b. Steven Dettelbach, in his official capacity as ATF Director
           c. Merrick Garland, in his official capacity as Attorney General of the
              United States

      4. Counsel for defendants-appellees (including in district court):
           a. Abby C. Wright, U.S. Department of Justice
           b. Daniel M. Riess, U.S. Department of Justice
           c. Steven H. Hazel, U.S. Department of Justice
          Case: 23-30033   Document: 40        Page: 3   Date Filed: 05/19/2023




      5. Amici curiae
           a. States of Illinois, Arizona, California, Colorado, Connecticut,
               Delaware, Hawaii, Maryland, Massachusetts, Michigan,
               Minnesota, Nevada, New Jersey, New York, Oregon,
               Pennsylvania, Rhode Island, Vermont, Washington, and
               Wisconsin, and the District of Columbia
           b. Giffords Law Center to Prevent Gun Violence
           c. Brady Center to Prevent Gun Violence
           d. March For Our Lives Foundation
           e. Everytown for Gun Safety1

      6. Counsel for amici curiae
           a. Kwame Raoul, Illinois Attorney General
           b. Jane Elinor Notz, Illinois Solicitor General
           c. Sarah A. Hunger, Office of the Illinois Attorney General
           d. Alex Hemmer, Office of the Illinois Attorney General
           e. Attorneys General of amici curiae States and District of Columbia,
              as listed on pages 24-25 of Dkt. 35
           f. Timothy R.W. Kappel, Wells & Kappel LLP
           g. Esther Sanchez-Gomez, Giffords Law Center to Prevent Gun
              Violence
           h. Douglas N. Letter, Brady Center to Prevent Gun Violence
           i. Shira Lauren Feldman, Brady Center to Prevent Gun Violence
           j. Ciara Malone, March for Our Lives
           k. Robert A. Sacks, Sullivan & Cromwell LLP
           l. Leonid Traps, Sullivan & Cromwell LLP
           m. Elizabeth A. Rose, Sullivan & Cromwell LLP
           n. Madeline B. Jenks, Sullivan & Cromwell LLP
           o. Sophie A. Kivett, Sullivan & Cromwell LLP
           p. Ivan E. Wohner, Everytown Law
           q. Janet Carter, Everytown Law

 Dated: May 19, 2023                      By: /s/ Ivan E. Wohner
                                          Attorney of record for Everytown for
                                          Gun Safety


      1Everytown for Gun Safety’s formal name is Everytown for Gun Safety
Action Fund. It has no parent corporations. It has no stock; hence, no publicly held
company owns 10% or more of its stock.

                                          ii
           Case: 23-30033            Document: 40              Page: 4     Date Filed: 05/19/2023




                                       TABLE OF CONTENTS


INTEREST OF AMICUS CURIAE ...................................................................... 1

INTRODUCTION AND SUMMARY OF ARGUMENT .................................. 2

ARGUMENT........................................................................................................... 4

   I.     Plaintiffs Have Not Met Their Burden to Establish that the Second
          Amendment’s Plain Text Covers Their Conduct ........................................ 4

   II.    If this Court Proceeds Past the Plain Text Inquiry, the Historical Analysis in
           National Rifle Ass’n v. Bureau of Alcohol, Tobacco, Firearms & Explosives Remains
           Binding and Compels Upholding the Commercial Sale Restrictions ......... 8

   III. If this Court Conducts the Historical Inquiry Anew, the Proper Focus for
         Analysis Is the Reconstruction Era, Not the Founding Era ....................... 12

CONCLUSION ..................................................................................................... 25




                                                         iii
           Case: 23-30033            Document: 40             Page: 5      Date Filed: 05/19/2023




                                    TABLE OF AUTHORITIES

CASES

Ass’n of N.J. Rifle & Pistol Clubs, Inc. v. Att’y Gen. N.J.,
  910 F.3d 106 (3d Cir. 2018) .................................................................................. 2

Bucklew v. Precythe,
  139 S. Ct. 1112 (2019) ........................................................................................ 11

County of Allegheny v. ACLU Greater Pittsburgh Chapter,
  492 U.S. 573 (1989) ............................................................................................ 12

District of Columbia v. Heller,
  554 U.S. 570 (2008) .............................................................................. 4, 8, 22, 23

Ezell v. City of Chicago,
  651 F.3d 684 (7th Cir. 2011) ................................................................... 14, 16, 17

Gould v. Morgan,
  907 F.3d 659 (1st Cir. 2018) ............................................................................... 14

Jarkesy v. Sec. & Exch. Comm’n,
  34 F.4th 446 (5th Cir. 2022) ............................................................................... 11

Kanter v. Barr,
  919 F.3d 437 (7th Cir. 2019) ............................................................................... 11

Kennedy v. Bremerton School District,
  142 S. Ct. 2407 (2022) .......................................................................................... 5

Lindenau v. Alexander,
  663 F.2d 68 (10th Cir. 1981) ................................................................................. 8

McDonald v. City of Chicago,
 561 U.S. 742 (2010) ...................................................................................... 14, 15

Nat’l Rifle Ass’n v. Bondi,
  61 F.4th 1317 (11th Cir. 2023), petition for reh’g en banc filed (Mar. 30, 2023) ... 8, 16



                                                         iv
            Case: 23-30033              Document: 40             Page: 6        Date Filed: 05/19/2023




Nat’l Rifle Ass’n v. McCraw,
  719 F.3d 338 (5th Cir. 2013) ............................................................................... 10

National Rifle Ass’n v. Bureau of Alcohol, Tobacco, Firearms & Explosives,
  700 F.3d 185 (5th Cir. 2012) ................................................................... 3, 6, 9, 10

New York State Rifle & Pistol Association v. Bruen,
  142 S. Ct. 2111 (2022) ................................................................................. passim

Oregon Firearms Fed’n, Inc. v. Brown,
  No. 2:22-cv-01815, 2022 WL 17454829 (D. Or. Dec. 6, 2022), appeal dismissed,
  No. 22-36011, 2022 WL 18956023 (9th Cir. Dec. 12, 2022) ............................... 6

Presser v. Illinois,
  116 U.S. 252 (1886) .............................................................................................. 8

Rehaif v. United States,
  139 S. Ct. 2191 (2019) .......................................................................................... 2

Rupp v. Becerra,
  401 F. Supp. 3d 978 (C.D. Cal. 2019), vacated and remanded, No. 19-56004, 2022
  WL 2382319 (9th Cir. June 28, 2022) .................................................................. 2

Teter v. Connors,
  460 F. Supp. 3d 989 (D. Haw. 2020), appeal docketed, No. 20-15948 (9th Cir. May
  19, 2020) ............................................................................................................... 2

United States v. Greeno,
  679 F.3d 510 (6th Cir. 2012) ............................................................................... 15

United States v. Jackson,
  No. 1:22-cr-00141, 2023 WL 2242873 (D. Md. Feb. 27, 2023) ........................... 6

United States v. Meyer,
  No. 4:22-cr-10012, 2023 WL 3318492 (S.D. Fla. May 9, 2023) ........................ 21

United States v. Ramirez,
  No. 22-50042, 2023 WL 3336423 (5th Cir. May 10, 2023) ............................... 13

United States v. Reyna,
  No. 3:21-cr-00041, 2022 WL 17714376 (N.D. Ind. Dec. 15, 2022) .................... 4


                                                             v
           Case: 23-30033              Document: 40             Page: 7      Date Filed: 05/19/2023



STATUTES

18 U.S.C. § 922(b)(1) ................................................................................................. 2

18 U.S.C. § 922(c)(1) ................................................................................................. 2
OTHER AUTHORITIES

Akhil Reed Amar, The Bill of Rights: Creation and Reconstruction (1998) ................ 21, 22

Brief for Independent Institute as Amicus Curiae, New York State Rifle & Pistol Ass'n
  v. Bruen, No. 20-843 (U.S.) .................................................................................. 23

David B. Kopel & Joseph G.S. Greenlee, The “Sensitive Places” Doctrine, 13
 Charleston L. Rev. 205 (2018) ............................................................................ 22

Evan D. Bernick, Fourteenth Amendment Confrontation, 51 Hofstra L. Rev. 1 (2022) ... 18

Josh Blackman & Ilya Shapiro, Keeping Pandora’s Box Sealed: Privileges or Immunities, the
  Constitution in 2020, and Properly Extending the Right to Keep and Bear Arms to the States,
  8 Geo. J.L. & Pub. Pol’y 1 (2010).................................................................. 17, 19

Kurt T. Lash, Re-Speaking the Bill of Rights: A New Doctrine of Incorporation (Jan. 15,
 2021), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3766917 ..... 21, 22

Michael B. Rappaport, Originalism and Regulatory Takings: Why the Fifth Amendment
 May Not Protect Against Regulatory Takings, But the Fourteenth Amendment May, 45 San
 Diego L. Rev. 729 (2008) .................................................................................... 18

Stephen A. Siegel, Injunctions for Defamation, Juries, and the Clarifying Lens of 1868, 56
  Buff. L. Rev. 655 (2008) ...................................................................................... 18

Steven G. Calabresi & Sarah E. Agudo, Individual Rights Under State Constitutions
  When the Fourteenth Amendment Was Ratified in 1868: What Rights Are Deeply Rooted in
  American History and Tradition?, 87 Tex. L. Rev. 7 (2008) ..................................... 18

Transcript of Oral Argument, New York State Rifle & Pistol Ass'n v. Bruen, No. 20-843
  (U.S. Nov. 3, 2021) ............................................................................................. 17




                                                           vi
          Case: 23-30033   Document: 40    Page: 8    Date Filed: 05/19/2023




                       INTEREST OF AMICUS CURIAE

      Everytown for Gun Safety is the nation’s largest gun-violence-prevention

organization, with nearly ten million supporters across the country, including over

575,000 in Louisiana, Mississippi, and Texas. Everytown was founded in 2014 as

the combined effort of Mayors Against Illegal Guns, a national, bipartisan coalition

of mayors combating illegal guns and gun trafficking, and Moms Demand Action

for Gun Sense in America, an organization formed after a 20-year-old gunman

murdered twenty children and six adults at an elementary school in Newtown,

Connecticut. The mayors of twenty-one cities in the Fifth Circuit are members of

Mayors Against Illegal Guns. Everytown also includes a large network of gun-

violence survivors who are empowered to share their stories and advocate for

responsible gun laws, as well as a national movement of high school and college

students working to end gun violence.2

      Over the past several years, Everytown has devoted substantial resources to

researching and developing expertise in historical firearms legislation. Everytown

has drawn on that expertise to file more than 60 amicus briefs in Second

Amendment and other firearms cases, offering historical and doctrinal analysis, as




      2  No party’s counsel authored this brief in whole or part and, apart from
Everytown, no person contributed money to fund its preparation or submission. All
parties consent to this brief’s submission.
         Case: 23-30033      Document: 40       Page: 9   Date Filed: 05/19/2023




well as social science and public policy research, that might otherwise be

overlooked. Several courts have expressly relied on Everytown’s amicus briefs in

deciding Second Amendment and other firearms cases. See Ass’n of N.J. Rifle &

Pistol Clubs, Inc. v. Att’y Gen. N.J., 910 F.3d 106, 112 n.8 (3d Cir. 2018); Rupp v.

Becerra, 401 F. Supp. 3d 978, 991-92 & n.11 (C.D. Cal. 2019), vacated and remanded,

No. 19-56004, 2022 WL 2382319 (9th Cir. June 28, 2022); Teter v. Connors, 460 F.

Supp. 3d 989, 1002-03 (D. Haw. 2020), appeal docketed, No. 20-15948 (9th Cir. May

19, 2020); see also Rehaif v. United States, 139 S. Ct. 2191, 2210-11 nn.4 & 7 (2019)

(Alito, J., dissenting).

            INTRODUCTION AND SUMMARY OF ARGUMENT

       Federal law restricts 18-to-20-year-olds from purchasing handguns from

federally licensed dealers. See 18 U.S.C. § 922(b)(1), (c)(1) (together with the

challenged implementing regulations, the “commercial sale restrictions”). Those

restrictions are constitutional under the approach to Second Amendment cases set

out in New York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022), for the

reasons in the Brief for Appellees, Dkt. 32 (“U.S. Br.”).

       Everytown submits this amicus brief to expand on three points. First,

plaintiffs have the burden in the initial, textual inquiry of the Bruen framework to

show that the regulations they challenge implicate the Second Amendment’s text.

The Court should not move on to the second, historical inquiry—asking whether


                                            2
        Case: 23-30033       Document: 40        Page: 10   Date Filed: 05/19/2023




the regulation is “consistent with the Nation’s historical tradition of firearm

regulation,” 142 S. Ct. at 2130—without first determining that Plaintiffs have met

this burden, and, as the government explains, they have failed to do so. Second, if

this Court does proceed to the historical inquiry, it should follow the analysis of the

historical tradition of regulating access to and use of firearms by individuals aged

18 to 20 in National Rifle Ass’n v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 700

F.3d 185 (5th Cir. 2012) (“NRA”). That analysis remains binding on this Court and

compels the conclusion that the commercial sale restrictions are constitutional

under Bruen. Third, if this Court decides to conduct the historical analysis anew, it

should conclude that the government has proven that the commercial sale

restrictions are consistent with this nation’s historical regulation of firearms both in

the founding era and in the Reconstruction era. If, however, it perceives a

difference between the two eras, it should conclude that the inquiry under the Bruen

framework should center on the Reconstruction era, not the founding era.

Moreover, whichever period the Court focuses on, it should not treat that period as

a cutoff. Examining “legal and other sources to determine the public understanding of a

legal text in the period after its enactment or ratification” is “a critical tool of




                                             3
         Case: 23-30033      Document: 40        Page: 11   Date Filed: 05/19/2023




constitutional interpretation.” District of Columbia v. Heller, 554 U.S. 570, 605 (2008)

(second emphasis added).

                                     ARGUMENT

   I.      Plaintiffs Have Not Met Their Burden to Establish that the
           Second Amendment’s Plain Text Covers Their Conduct

        Bruen’s framework requires both a textual inquiry and a historical inquiry.

The court first must ask whether “the Second Amendment’s plain text covers an

individual’s conduct.” 142 S. Ct. at 2129-30. Bruen’s analysis makes clear that the

“people” challenging a gun regulation, the “weapons” they put at issue, and their

“proposed course of conduct” must all fall within the Second Amendment’s plain

text. See id. at 2134. If so, the court then moves on to ask whether the government

has shown that its regulation is “consistent with the Nation’s historical tradition of

firearm regulation.” Id. at 2130. See generally id. at 2134-38 (separating application of

test into Part III.A (text) and Part III.B (history)). If not, the inquiry ends: self-

evidently, if people, weapons, or conduct are outside the Second Amendment’s

protection, then the government may regulate them without infringing the Second

Amendment. See, e.g., United States v. Reyna, No. 3:21-cr-00041, 2022 WL 17714376,

at *5 (N.D. Ind. Dec. 15, 2022) (dismissing defendant’s challenge to indictment and

plea because “§ 922(k)’s regulated conduct [possession of a firearm with an




                                             4
        Case: 23-30033      Document: 40        Page: 12   Date Filed: 05/19/2023




obliterated serial number] is outside [the] scope of the Second Amendment” and

that fact “is enough to decide” the case; declining to reach historical inquiry).

      Plaintiffs have the burden on the initial, textual inquiry; the government’s

burden to show consistency with historical tradition only arises after plaintiffs have

carried their burden. Bruen itself makes that clear, by indicating that a presumption

that the Constitution protects a plaintiff’s conduct arises after (“when” or

“because”) the textual inquiry is satisfied. See 142 S. Ct. at 2126, 2141 n.11. If the

burden were on the government throughout—in what would be an unusual

departure from ordinary principles of constitutional litigation—the Court would

have said so. Placing the initial burden on the plaintiff also accords with the Court’s

approach to other constitutional rights. For example, just a week after Bruen, the

Court announced in Kennedy v. Bremerton School District, 142 S. Ct. 2407 (2022), that,

“[u]nder th[e] Court’s precedents, a plaintiff bears certain burdens to demonstrate

an infringement of his rights under the Free Exercise and Free Speech Clauses. If

the plaintiff carries these burdens, the focus then shifts to the defendant to [justify]

... its actions[.]” Id. at 2421. Accordingly, multiple courts have read Bruen to place

the burden on the plaintiff to establish that the Second Amendment’s plain text

covers their conduct. See, e.g., Oregon Firearms Fed’n, Inc. v. Brown, No. 2:22-cv-01815,

2022 WL 17454829, at *9 (D. Or. Dec. 6, 2022) (explaining that “if Plaintiffs

demonstrate that their conduct is covered by the text of the Second Amendment,


                                            5
        Case: 23-30033       Document: 40       Page: 13   Date Filed: 05/19/2023




the Constitution presumptively protects that conduct and the burden shifts to the

government,” and holding that Plaintiffs had not met their textual burden at the

preliminary injunction stage), appeal dismissed, No. 22-36011, 2022 WL 18956023

(9th Cir. Dec. 12, 2022)).

      It is especially important that a plaintiff meets their burden at the textual

step before a court undertakes the historical inquiry, given the “institutional

challenges in conducting a definitive review of the relevant historical record.” See

NRA, 700 F.3d at 204; see also, e.g., United States v. Jackson, No. 1:22-cr-00141, 2023

WL 2242873, at *10-12 (D. Md. Feb. 27, 2023) (noting that “judges are not

historians” and historical analysis under Bruen presents “challenges” and

“problems”). Under the pre-Bruen framework, a court could uphold a challenged

law under means-end scrutiny at the second step as an alternative to undertaking

the complex and unfamiliar historical analysis at the first step. In those

circumstances—and in light of the difficulties associated with the historical

analysis—it made sense that this Court chose in NRA, “in an abundance of

caution,” to confirm the result it reached in its historical analysis with a means-end

scrutiny analysis. See 700 F.3d at 204. In doing so, the Court demonstrated its

preference for grounding its rulings in familiar legal methodology.

      After Bruen, by contrast, the first, textual step is the one that involves more

familiar legal methodology—as well as establishing a burden plaintiffs must carry


                                            6
        Case: 23-30033        Document: 40        Page: 14   Date Filed: 05/19/2023




before triggering the government’s burden. Accordingly, this Court should not

consider the historical analysis unless convinced that the plaintiffs satisfied their

burden at the textual step.

       Plaintiffs have failed to do so. The restrictions do not implicate the Second

Amendment because they regulate only underage individuals. See U.S. Br. 15-31.

The age of majority at common law was 21, and those under that age “did not

enjoy the full range of civil and political rights.” Id. at 16-17 (citations omitted).

Given the founders’ view that “reason and judgment are not fully developed before

the age of 21,” see id. at 18-19 (citing John Adams, Gouverneur Morris, and

Thomas Jefferson), restricting access to firearms for those under 21 “accord[s] with

legislatures’ more general authority to disarm groups historically deemed

irresponsible.” Id. at 19; see also id. at 20-22. And plaintiffs’ efforts to carry their

burden by relying on early militia laws, other constitutional provisions, or—

abandoning all pretense of history-focused analysis—modern attitudes all fail for

the reasons the government explains. See id. at 22-31 (explaining, among other

things, that Heller disconnected the Second Amendment right from militia service,

legislatures could (and many did) exclude those under 21 from service, and

inclusion of other groups in militias while excluding them from private firearms




                                              7
             Case: 23-30033   Document: 40       Page: 15   Date Filed: 05/19/2023




possession demonstrates that being part of the militia did not establish an

entitlement to Second Amendment rights).3

   II.        If this Court Proceeds Past the Plain Text Inquiry, the
              Historical Analysis in National Rifle Ass’n v. Bureau of
              Alcohol, Tobacco, Firearms & Explosives Remains Binding
              and Compels Upholding the Commercial Sale Restrictions

         Plaintiffs have failed to satisfy their burden under Bruen’s textual inquiry, and

that should end the case. If the Court nevertheless proceeds to the second,

historical inquiry, it should conclude—as did the district court—that NRA’s

historical analysis remains controlling, and likewise resolves the case in the

Government’s favor.

         NRA thoroughly analyzed the historical justifications for restricting

individuals under 21 from purchasing handguns from licensed dealers in upholding

the commercial sale restrictions in 2012. At the first, history-focused step of the


         In addition, plaintiffs’ militia-based argument fails to recognize that a
         3

government mandate to engage in certain conduct does not create an individual
right to do so. See Nat’l Rifle Ass’n v. Bondi, 61 F.4th 1317, 1331 (11th Cir. 2023)
(“NRA v. Bondi”) (“The NRA mistakes a legal obligation for a right.”), petition for reh’g
en banc filed (Mar. 30, 2023). For example, even though there is a duty to serve in
the military if drafted, “[i]t is well established that there is no right to enlist in this
country’s armed services.” Lindenau v. Alexander, 663 F.2d 68, 72 (10th Cir. 1981).
The Supreme Court made that clear in the militia context almost 150 years ago.
See Presser v. Illinois, 116 U.S. 252, 267 (1886) (holding that participation in a non-
government-organized militia “cannot be claimed as a right independent of law”).
And it reaffirmed that principle in Heller, explaining that “weapons … most useful
in military service,” which are not typically possessed by law-abiding citizens for
lawful purposes, fall outside of the Second Amendment’s scope, see 554 U.S. at 627-
28, even though the government may mandate their use in the military or militia.

                                             8
          Case: 23-30033    Document: 40        Page: 16   Date Filed: 05/19/2023




analytical framework that applied prior to Bruen,4 NRA found “considerable

evidence” that the commercial sale restrictions are “consistent with a longstanding,

historical tradition,” which “suggests that” the ability of 18-to-20-year-olds to

purchase handguns from licensed dealers “falls outside the Second Amendment’s

protection.” NRA, 700 F.3d at 203; see also id. at 204 (“Modern restrictions on the

ability of persons under 21 to purchase handguns … seem, to us, to be firmly

historically rooted.”). One year later, this Court acknowledged that NRA “held that

statutes enacted to safeguard the public using age-based restrictions on access to

and use of firearms are part of a succession of ‘longstanding prohibitions’ that are

likely outside the scope of the Second Amendment, because such restrictions are

‘consistent with’ both the ‘longstanding tradition of targeting select groups’ ability

to access and to use arms for the sake of public safety’ and the ‘longstanding




      4  Between Heller and Bruen, every federal court of appeals to address the issue
concluded that analyzing Second Amendment claims should proceed in two steps:
a historical step, in which courts examined whether the challenged law restricted
conduct falling within the scope of the Second Amendment, as historically
understood; and, if so, a means-end scrutiny step, where courts examined the fit
between the government’s interest and the challenged law, usually under
intermediate scrutiny. See Bruen, 142 S. Ct. at 2126-27; Gould v. Morgan, 907 F.3d
659, 668 (1st Cir. 2018) (citing cases), criticized by Bruen, 142 S. Ct. at 2124, 2126-27.

                                            9
        Case: 23-30033      Document: 40     Page: 17     Date Filed: 05/19/2023




tradition of age-and safety-based restrictions on the ability to access arms[.]’” Nat’l

Rifle Ass’n v. McCraw, 719 F.3d 338, 347 (5th Cir. 2013) (citation omitted).

      Nothing in Bruen permits this Court to disregard the conclusions NRA

reached at step one of the pre-Bruen framework. Those conclusions closely track the

analysis Bruen subsequently mandated. Compare, e.g., NRA, 700 F.3d at 203 (finding

“considerable evidence” that the commercial sale restrictions are “consistent with a

longstanding, historical tradition”), with Bruen, 142 S. Ct. at 2130 (where regulation

implicates the Second Amendment’s text, government must show that it is

“consistent with the Nation’s historical tradition of firearm regulation”); see also

Bruen, 142 S. Ct. at 2127 (explaining that “[s]tep one of the predominant

framework is broadly consistent with Heller”); id. at 2157-58 (Alito, J., concurring)

(“Our decision … does not expand the categories of people who may lawfully

possess a gun, and federal law … bars the sale of a handgun to anyone under the

age of 21[.]”). For example, in addition to discussing the wealth of 19th-century

authorities that support restricting the ability of 18-to-20-year-olds to access

firearms, NRA relied on “revolutionary and founding-era gun regulations … that

targeted particular groups for public safety reasons,” such as “laws that confiscated

weapons owned by persons who refused to swear an oath of allegiance to the state

or to the nation. … American legislators had determined that permitting these

persons to keep and bear arms posed a potential danger.” NRA, 700 F.3d at 200.


                                           10
        Case: 23-30033      Document: 40      Page: 18     Date Filed: 05/19/2023




This analysis also coheres with the analogical approach to historical inquiry that

Bruen mandated. See Bruen, 142 S. Ct. at 2133 (“[W]hether modern and historical

regulations impose a comparable burden on the right of armed self-defense and

whether that burden is comparably justified are central considerations when

engaging in an analogical inquiry.” (cleaned up)). The commercial sale restrictions

are “comparably justified” vis-à-vis the revolutionary and founding-era regulations

NRA discussed, because both targeted those considered to be dangerous if entrusted

with firearms. Cf., e.g., Kanter v. Barr, 919 F.3d 437, 451 (7th Cir. 2019) (Barrett, J.,

dissenting) (“History is consistent with common sense: it demonstrates that

legislatures have the power to prohibit dangerous people from possessing guns.”).

And the commercial sale restrictions impose a significantly smaller burden—not just

a comparable burden—relative to the historical disarmament laws, since they apply

to any individual only until they turn 21.

       Accordingly, as the government explains, “NRA’s detailed review of the

historical record shows that the commercial sale restrictions satisfy Bruen’s historical

standard.” U.S. Br. 15. This Court is bound to reach the same conclusion. See

Jarkesy v. Sec. & Exch. Comm’n, 34 F.4th 446, 459 n.9 (5th Cir. 2022) (“This circuit

follows the rule that alternative holdings are binding precedent and not obiter

dictum.” (cleaned up)); Bucklew v. Precythe, 139 S. Ct. 1112, 1126 (2019) (“[J]ust as

binding as [a prior case’s] holding is the reasoning underlying it.”); County of


                                             11
          Case: 23-30033   Document: 40      Page: 19    Date Filed: 05/19/2023




Allegheny v. ACLU Greater Pittsburgh Chapter, 492 U.S. 573, 668 (1989) (Kennedy, J.,

concurring in part and dissenting in part) (“As a general rule, the principle of stare

decisis directs us to adhere not only to the holdings of our prior cases, but also to

their explications of the governing rules of law.”). That alone is enough to defeat

Plaintiffs’ Second Amendment claim.

   III.    If this Court Conducts the Historical Inquiry Anew, the Proper
           Focus for Analysis Is the Reconstruction Era, Not the
           Founding Era

      Plaintiffs’ claims fail both under Bruen’s textual inquiry and NRA’s controlling

historical analysis. However, if the Court does see fit to conduct its own historical

inquiry, it will confront the question whether the most relevant time period for that

inquiry centers on the Reconstruction era, and the ratification of the Fourteenth

Amendment in 1868, or the founding era, and the ratification of the Second

Amendment in 1791.

      The government has explained that the commercial sale restrictions are

entirely consistent with the American tradition of firearms regulation regardless of

which period this Court considers. See U.S. Br. 32-35 (19th century); id. at 35-38

(founding era). If the public understanding of the Second Amendment right

remained consistent in the 77 years between 1791 and 1868, an inquiry into that

understanding in 1791 will be just as revelatory of the scope of the right as an

inquiry into the public understanding in 1868. See Bruen, 142 S. Ct. at 2138 (2022)


                                           12
        Case: 23-30033      Document: 40      Page: 20     Date Filed: 05/19/2023




(explaining that the Court did not need to resolve the issue because, with respect to

carrying handguns in public without special need, “the public understanding of the

right to keep and bear arms in both 1791 and 1868 was, for all relevant purposes,

the same”). Accordingly, like the Supreme Court in Bruen, this Court need not

resolve the issue of the correct time period in this case. Cf. United States v. Ramirez,

No. 22-50042, 2023 WL 3336423, at *5 n.4 (5th Cir. May 10, 2023) (in a Fourth

Amendment challenge in a federal criminal case, observing that, “[l]ike the Court

in Bruen, [it] need not resolve th[e] debate” over whether 1791 or 1868 is the

“relevant historical period for determining the original meaning of enumerated

rights” because the relevant legal principles “were consistent through both

ratification periods”). Nevertheless, if this Court wishes to do so to guide district

courts in future cases, it should hold that the inquiry centers on 1868—including in

challenges, like this one, to federal gun laws.

       To understand why the 1868 understanding establishes the scope of the right

to keep and bear arms in cases challenging federal laws, it is necessary first to

understand why that is correct in cases challenging state laws. In a case challenging

the constitutionality of a state law, focusing on 1868 is the only correct way to

answer the originalist question: How did the people understand the right at the

time of its adoption? The U.S. Constitution’s protection of the right to keep and

bear arms did not constrain the states until 1868; as Bruen correctly observed, a


                                            13
          Case: 23-30033    Document: 40      Page: 21    Date Filed: 05/19/2023




state “is bound to respect the right to keep and bear arms because of the

Fourteenth Amendment, not the Second.” 142 S. Ct. at 2137. Thus, when the

people chose to extend the Bill of Rights to the states in 1868, their understanding of

the scope of each right at that time should control the originalist analysis today. In

a case against a state, to elevate a founding-era understanding of the right over the

Reconstruction-era understanding would be to reject what the people understood

the right to be at the time they gave it effect.

      Prior to Bruen, several circuits reached this conclusion in analyzing the

tradition of firearm regulation at the first, historical step of the then-applicable

Second Amendment framework.5 See Gould, 907 F.3d at 669 (“Because the

challenge here is directed at a state law, the pertinent point in time would be 1868

(when the Fourteenth Amendment was ratified).”); Ezell v. City of Chicago, 651 F.3d

684, 702 (7th Cir. 2011) (“McDonald [v. City of Chicago, 561 U.S. 742 (2010),]

confirms that if the claim concerns a state or local law, the ‘scope’ question asks

how the right was publicly understood when the Fourteenth Amendment was




      5 See supra n.4 (explaining the two-step framework that federal courts of
appeals applied between Heller and Bruen).

                                            14
        Case: 23-30033     Document: 40     Page: 22     Date Filed: 05/19/2023




proposed and ratified.”); United States v. Greeno, 679 F.3d 510, 518 (6th Cir. 2012)

(following Ezell).

       Bruen does not alter that conclusion; the step-one analyses in these cases

remain, as a general matter, good law. See 142 S. Ct. at 2138 (leaving open the

question whether 1868 or 1791 is the correct focus); id. at 2127 (concluding that

“[s]tep one of the predominant framework [applied in the lower courts before

Bruen] is broadly consistent with Heller”). Moreover, there is good reason for these

courts to have reached that conclusion: insisting that the 1791 understanding

should apply against the states does not make sense in light of the Supreme Court’s

lengthy analysis in McDonald of the understanding of the right to keep and bear

arms around 1868. See McDonald, 561 U.S. at 770-78 (plurality opinion); id. at 826-

38 (Thomas, J., concurring in part and concurring in the judgment). It would be

extraordinary if the public understanding of the right in 1868 were so central to

whether the right was incorporated against the states, but irrelevant to what right was

incorporated. That is presumably why the Seventh Circuit, in an opinion by Judge

Sykes, reads McDonald to have “confirm[ed] that when state- or local-government

action is challenged, the focus of the original-meaning inquiry is carried forward in

time; the Second Amendment’s scope as a limitation on the States depends on how




                                          15
        Case: 23-30033     Document: 40      Page: 23    Date Filed: 05/19/2023




the right was understood when the Fourteenth Amendment was ratified.” Ezell,

651 F.3d at 702.

      The Eleventh Circuit recently reached the same conclusion post-Bruen,

holding that in cases involving state laws where “the Fourteenth Amendment

Ratification Era understanding of the right to keep and bear arms … differ[s]

from the 1789 understanding, … the more appropriate barometer is the public

understanding of the right when the States ratified the Fourteenth Amendment

and made the Second Amendment applicable to the States.” NRA v. Bondi, 61

F.4th at 1323. The court continued:

      This is necessarily so if we are to be faithful to the principle that
      “[c]onstitutional rights are enshrined with the scope they were
      understood to have when the people adopted them.” As with statutes, when a
      conflict arises between an earlier version of a constitutional provision
      (here, the Second Amendment) and a later one (here, the Fourteenth
      Amendment and the understanding of the right to keep and bear arms
      that it incorporates), “the later-enacted [provision] controls to the extent
      it conflicts with the earlier-enacted [provision].” … The opposite rule
      would be illogical.

Id. at 1323-24 (alterations in original) (citations omitted). The conclusion that the

1868 understanding of the Second Amendment right should apply in a case against

a state is far from a radical position. Indeed, it was the position former Solicitor

General Paul Clement took as counsel for the NRA’s New York affiliate during

oral argument in Bruen:

      JUSTICE THOMAS: [Y]ou mentioned the founding and you mentioned
      post-Reconstruction. But, if we are to analyze this based upon the history or

                                           16
        Case: 23-30033       Document: 40      Page: 24     Date Filed: 05/19/2023




       tradition, should we look at the founding, or should we look at the time of
       the adoption of the Fourteenth Amendment, which then, of course, applies it
       to the states?

       MR. CLEMENT: So, Justice Thomas, I suppose, if there were a case where
       there was a contradiction between those two, you know, and the case arose
       in the states, I would think there would be a decent argument for looking at
       the history at the time of Reconstruction … and giving preference to that
       over the founding.

Tr. of Oral Arg. at 8:2-17, Bruen (No. 20-843).

       It is also the position prominent scholars of originalist theory have taken. As

the Eleventh Circuit explained, “[m]any prominent judges and scholars—across

the political spectrum—agree that, at a minimum, ‘the Second Amendment’s scope

as a limitation on the States depends on how the right was understood when the

Fourteenth Amendment was ratified.’” (quoting Ezell, 651 F.3d at 702) (citing,

among others, Josh Blackman, Ilya Shapiro, Steven Calabresi, and Sarah Agudo);

see also Josh Blackman & Ilya Shapiro, Keeping Pandora’s Box Sealed: Privileges or

Immunities, the Constitution in 2020, and Properly Extending the Right to Keep and Bear Arms

to the States, 8 Geo. J.L. & Pub. Pol’y 1, 52 (2010) (“Federal protection against state

encroachments on individual liberty began with the ratification of the Fourteenth

Amendment. 1868 is thus the proper temporal location for applying a whole host

of rights to the states, including the right that had earlier been codified as the

Second Amendment as applied against the federal government. Interpreting the

right to keep and bear arms as instantiated by the Fourteenth Amendment—based


                                             17
          Case: 23-30033    Document: 40      Page: 25    Date Filed: 05/19/2023




on the original public meaning in 1791—thus yields an inaccurate analysis.”

(footnote omitted)); Steven G. Calabresi & Sarah E. Agudo, Individual Rights Under

State Constitutions When the Fourteenth Amendment Was Ratified in 1868: What Rights Are

Deeply Rooted in American History and Tradition?, 87 Tex. L. Rev. 7, 115-16 & 116

n.485 (2008) (asserting that “[Akhil] Amar is exactly right”—“the question is

controlled not by the original meaning of the first ten Amendments in 1791 but

instead by the meaning those texts and the Fourteenth Amendment had in 1868”);

Evan D. Bernick, Fourteenth Amendment Confrontation, 51 Hofstra L. Rev. 1, 23 (2022)

(“The view is ascendant among originalists who hold that the Fourteenth

Amendment requires states to respect some or all of the individual rights listed in

the first eight amendments that those rights ought to be understood as they were

understood in 1868.”). Others who have endorsed this view include Michael

Rappaport6 and Stephen Siegel.7 In sum, originalist analysis compels applying the


      6  Michael B. Rappaport, Originalism and Regulatory Takings: Why the Fifth
Amendment May Not Protect Against Regulatory Takings, But the Fourteenth Amendment May,
45 San Diego L. Rev. 729, 748 (2008) (“[T]he incorporated Bill of Rights under
the Fourteenth Amendment may have had a different meaning than the original
Bill of Rights. If the rights in the original Bill had developed a new meaning in the
years leading up to Reconstruction, and if the enactors of the Amendment had
used those new meanings, the incorporated Bill would have a different meaning
than the original Bill.”).
      7 Stephen A. Siegel, Injunctions for Defamation, Juries, and the Clarifying Lens of
1868, 56 Buff. L. Rev. 655, 662 n.32 (2008) (“I am unaware of any discussion by an
originalist asserting, as a matter of theory, that the meaning of the Bill of Rights in
1789 should be preferred to its meaning in 1868 when the subject is the limitations
the Fourteenth Amendment imposes on the states. In addition, I am unable to
                                           18
            Case: 23-30033   Document: 40     Page: 26    Date Filed: 05/19/2023




1868 understanding of the right to keep and bear arms in a case challenging a state

law.8

        The pertinent question in this case, of course, is whether the 1868

understanding should also control in challenges to federal gun laws, to which the

Second Amendment applies directly rather than through the Fourteenth

Amendment. Again, this Court need not decide that issue here, because “the

federal restrictions whose validity plaintiffs seek to upend reflect a historical

tradition that stretches from the founding.” U.S. Br. 38; see also id. at 35-38. If the




conceive of a persuasive originalist argument asserting the view that, with regard to
the states, the meaning of the Bill in 1789 is to be preferred to its meaning in 1868.
In discussions, some originalists have suggested the importance of ‘consistency’
between the rights held against the national and state governments. The desire for
consistency, however, is not justified on originalist grounds. In addition, consistency
may be brought about by imposing the meaning of the Bill in 1868 on the national
government, rather than vice-versa.”).
        To be clear, we do not suggest that each of these scholars also believe that
        8

1868 is the correct focus for analyzing the public meaning of the right to keep and
bear arms in cases against the federal government. Professors Blackman and
Shapiro, for example, maintain that 1868 is the correct focus for cases against a
state and 1791 is correct for cases against the federal government. See Blackman &
Shapiro, 8 Geo. J.L. & Pub. Pol’y at 51. As discussed below, because Bruen
subsequently rejected the possibility of different standards for the state and federal
governments, originalists must choose one period or the other, and the weight of
authority and analysis favors 1868. See infra pp. 20-22.

                                            19
       Case: 23-30033      Document: 40     Page: 27    Date Filed: 05/19/2023




Court decides to resolve the issue for future cases, however, it should conclude that

1868 is the correct focus in cases challenging both federal and state laws.

      To be sure, the choice between 1791 and 1868 is a less straightforward one

with respect to challenges to federal laws. If the public understanding of the Bill of

Rights changed between ratification in 1791 and incorporation in 1868, then

“[o]riginalists seem,” at first glance, to be “forced to either abandon originalism or

accept a world in which we have two Bills of Rights, one applicable against the

federal government and invested with 1791 meanings and one incorporated against

the states and invested with 1868 meanings.” Lash, 97 Ind. L.J. at 1441. But Bruen

rejected the possibility of different standards for the state and federal governments.

142 S. Ct. at 2137 (“[W]e have made clear that individual rights enumerated in the

Bill of Rights and made applicable against the States through the Fourteenth

Amendment have the same scope as against the Federal Government.”).

Accordingly, originalists must justify applying either the 1868 understanding or the

1791 understanding (where they conflict) to all levels of government.

      Existing doctrine does not resolve this choice between 1791 and 1868: Bruen

noted prior decisions that had “assumed” that the scope for both state and federal

governments “is pegged to the public understanding … in 1791.” Id. But if the

majority believed those decisions controlled the issue, it would have said so.

Instead, the Court expressly left open the question whether 1868 or 1791 is the


                                          20
           Case: 23-30033    Document: 40      Page: 28     Date Filed: 05/19/2023




relevant focus, and it pointed to “ongoing scholarly debate on whether courts

should primarily rely on the prevailing understanding of an individual right when

the Fourteenth Amendment was ratified in 1868 when defining its scope (as well as

the scope of the right against the Federal Government).” Id. at 2138. The Court

then cited two scholars who support the 1868 view, Professors Akhil Amar and

Kurt Lash, and none who supports the 1791 view. See id. (citing Akhil Reed Amar,

The Bill of Rights: Creation and Reconstruction xiv, 223, 243 (1998), and Kurt T. Lash,

Re-Speaking the Bill of Rights: A New Doctrine of Incorporation (Jan. 15, 2021) (manuscript,

at 2), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3766917 (now

published at 97 Ind. L.J. 1439)); see also, e.g., United States v. Meyer, No. 4:22-cr-

10012, 2023 WL 3318492, at *2 n.4 (S.D. Fla. May 9, 2023) (noting that “Justice

Thomas, writing for the majority in Bruen, signaled an openness to the feedback-

effect theory of the Fourteenth Amendment”).

       On Professor Amar’s account, when the Fourteenth Amendment was

ratified, then-contemporary understandings of incorporated rights could transform

their meaning not only against the states, but also as to the federal government.9


       9 See Amar, The Bill of Rights, supra, at xiv (noting that a “particular principle
in the Bill of Rights may change its shape in the process of absorption into the
Fourteenth Amendment”); id. at 223 (“[W]hen we ‘apply’ the Bill of Rights against
the states today, we must first and foremost reflect on the meaning and spirit of the
amendment of 1866, not the Bill of 1789. … [I]n the very process of being
absorbed into the Fourteenth Amendment, various rights and freedoms of the
original Bill may be subtly but importantly transformed[.]”); id. at 243 (arguing that
                                             21
        Case: 23-30033      Document: 40     Page: 29     Date Filed: 05/19/2023




More recently, Professor Lash wrote—as quoted in Bruen—“When the people

adopted the Fourteenth Amendment into existence, they readopted the original Bill

of Rights, and did so in a manner that invested those original 1791 texts with new

1868 meanings.” Lash, manuscript, at 2; see Bruen, 142 S. Ct. at 2138. On this view,

too, 1868 meanings bind both the states and the federal government.

      The 1868 view is also consistent with the passage in Bruen instructing the

lower courts on historical methodology through the example of sensitive places

restrictions. There, the Court indicated that “18th- and 19th-century” laws contained

adequate restrictions on the possession of guns in legislative assemblies, polling

places, and courthouses to satisfy its historical analysis, 142 S. Ct. at 2133

(emphasis added)—an incomprehensible statement if the Court believed that the

18th century was the only relevant period. Notably, in the pages of the article and

brief the Court cited for that proposition, see id., all of the 19th-century laws

restricting guns in any of the three locations the Court listed were from the late 19th

century.10

      Moreover, 1868 is neither a starting-line nor a cutoff; Heller and Bruen both

examined history preceding even 1791, see Heller, 554 U.S. at 592-93; Bruen, 142 S.


“the Fourteenth Amendment has a doctrinal ‘feedback effect’ against the federal
government”); see also id. at 283 (“[W]ords inserted into the Constitution in 1791
must be read afresh after 1866.”).
      10See David B. Kopel & Joseph G.S. Greenlee, The “Sensitive Places” Doctrine,
13 Charleston L. Rev. 205, 244-47 (2018) (citing 1870 Louisiana law, 1874 and
                                           22
        Case: 23-30033       Document: 40      Page: 30     Date Filed: 05/19/2023




Ct. at 2135-36, 2142-45, and Heller instructs that “examination of a variety of legal

and other sources to determine the public understanding of a legal text in the period

after its enactment or ratification” is also “a critical tool of constitutional

interpretation,” 554 U.S. at 605 (second emphasis added); see also Bruen, 142 S. Ct.

at 2127-28 (quoting same). Bruen clarified that, under this passage in Heller,

materially later history that contradicts the established original meaning of the

constitutional text at the relevant point in time would not change that meaning. See

142 S. Ct. at 2137, 2154 n.28. But it emphasized that, conversely, “a regular

course of practice can liquidate [and] settle the meaning of disputed or

indeterminate terms [and] phrases in the Constitution.” Id. at 2136 (cleaned up)

(quoting decision quoting James Madison). Thus, even if evidence in the period up

to and around 1868 left the meaning of the Second Amendment right

“indeterminate,” courts should look to “practice” in the decades that followed to

“settle” the meaning of the right. Equally, even if a court were to conclude

(contrary to the scholars the Supreme Court cited) that the relevant date is 1791,

not 1868, and even if it found evidence in that period indeterminate, it should

recognize that later laws (and other historical evidence of regulatory authority)


1886 Maryland laws, 1873 Texas law, and 1874 decision upholding 1870 Georgia
law); Br. for Indep. Inst. as Amicus Curiae at 11-17, Bruen (No. 20-843) (July 20,
2021) (disputing relevance of 19th-century laws but (at 16 n.10) citing 1869
Tennessee, 1870 Texas, and 1890 Oklahoma laws that prohibited guns in (among
others) polling places).

                                            23
       Case: 23-30033      Document: 40      Page: 31    Date Filed: 05/19/2023




settle the meaning of the Second Amendment right and demonstrate that the

challenged laws are constitutional. See also U.S. Br. 39-40 (describing Supreme

Court’s reliance on 19th-century authorities and practices in Heller, Bruen, and

decisions involving other constitutional rights).

      In light of these principles, the plaintiffs’ suggestion that this Court should

simply disregard the wealth of 19th-century laws that operated just as the

challenged laws do is profoundly mistaken, even if the meaning of the right is keyed

to the public understanding in 1791. As the Government observes, the plaintiffs

proceed from the “mistaken premise that they have provided conclusive evidence

as to the right’s meaning at the founding, and that this understanding cannot be

varied by later practice.” Id. at 41. Plaintiffs have provided no such evidence; their

claims about the import of founding-era militia laws are mistaken. See id. at 23-26,

41. Nor have they provided any evidence of a “radical shift” in the meaning of the

right “between 1791 and 1868.” Id. at 42. In these circumstances, the actions of

state legislatures in the decades around Reconstruction—starting within the lifetimes

of individuals who were alive at the founding—are robust evidence of how the

public understood the right to keep and bear arms at the founding. For plaintiffs to

suggest that they have better insight into the founding-era understanding of the




                                          24
       Case: 23-30033     Document: 40    Page: 32      Date Filed: 05/19/2023




Second Amendment right in 2023, 232 years distant from its ratification, than the

Reconstruction generation had when 77 years distant, is nothing short of hubris.

                                CONCLUSION

      This Court should affirm the judgment of the district court.


                                              Respectfully submitted,

 Dated: May 19, 2023                          By: /s/ Ivan E. Wohner

                                                 Janet Carter
                                                 Everytown Law
                                                 450 Lexington Avenue, P.O. Box 4184
                                                 New York, NY 10017

                                                 Ivan E. Wohner
                                                 Everytown Law
                                                 P.O. Box 14780
                                                 Washington, DC 20044
                                                 202-897-1882
                                                 iwohner@everytown.org

                                                 Counsel for Amicus Curiae
                                                 Everytown for Gun Safety




                                         25
       Case: 23-30033      Document: 40     Page: 33    Date Filed: 05/19/2023




                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Fed. R. App. P.

29(a)(5) and 32(a)(7)(B)(i) because it contains 6,118 words, excluding the portions

exempted by Fed. R. App. P. 32(f). This brief complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R.

App. P. 32(a)(6) because it has been prepared in proportionally spaced typeface

using Microsoft Word in 14-point Baskerville font.


  May 19, 2023                            /s/Ivan E. Wohner
                                          Ivan E. Wohner

                                          Counsel for Amicus Curiae
                                          Everytown for Gun Safety




                                          26
       Case: 23-30033     Document: 40     Page: 34    Date Filed: 05/19/2023




                        CERTIFICATE OF SERVICE

      On May 19, 2023, I electronically filed this brief with the Clerk of the Court

for the United States Court of Appeals for the Fifth Circuit using the CM/ECF

system. All parties in the case are registered CM/ECF users.


 May 19, 2023                            /s/Ivan E. Wohner
                                         Ivan E. Wohner

                                         Counsel for Amicus Curiae
                                         Everytown for Gun Safety




                                         27
